Case 6:20-cr-00097-JCB-JDL Document 94 Filed 01/20/21 Page 1 of 15 PageID #: 191



                            U.S. District Court
                  SOUTHERN DISTRICT OF TEXAS (Houston)
           CRIMINAL DOCKET FOR CASE #: 4:21−mj−00105−1 *SEALED*
                             Internal Use Only

   Case title: USA v. SEALED                                    Date Filed: 01/19/2021
   Other court case number: 6:20−cr−097 (1) ED/TX − Tyler Div

   Assigned to: Magistrate Judge
   Frances H Stacy

   Defendant (1)
   Shawn Carl Gaitan                       represented by Federal Public Defender − Houston
   In Custody                                             440 Louisiana
                                                          Ste 310
                                                          Houston, TX 77002
                                                          713−718−4600
                                                          Fax: 713−718−4610
                                                          Email: hou_ecf@fd.org
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED
                                                          Designation: Public Defender or Community
                                                          Defender Appointment

   Pending Counts                                        Disposition
   None

   Highest Offense Level (Opening)
   None

   Terminated Counts                                     Disposition
   None

   Highest Offense Level
   (Terminated)
   None

   Complaints                                            Disposition
   21 USC § 846: Conspiracy to
   possess with the intent to distribute
   and distribution of a controlled
   substance (methamphetamine)



                                                                                                      1
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   Plaintiff
   USA

    Date Filed   # Page Docket Text
    01/19/2021        3 Magistrate Judge Frances H Stacy added. (sanderson, 4) (Entered: 01/19/2021)
    01/19/2021   1    4 Copy of Sealed Indictment and Warrant from the Eastern District of Texas −
                        Tyler Division 6:20−cr−097 (1) as to Shawn Carl Gaitan, filed.(sanderson, 4)
                        (Main Document 1 replaced on 1/19/2021) (sanderson, 4). (Entered: 01/19/2021)
    01/19/2021       14 Arrest (Rule 40) of Shawn Carl Gaitan, filed. (sanderson, 4) (Entered:
                        01/19/2021)
    01/19/2021       12 ***Set Hearing as to Shawn Carl Gaitan: Initial Appearance − Rule 40 set for
                        1/19/2021 at 02:00 PM before Magistrate Judge Frances H Stacy (sanderson, 4)
                        (Entered: 01/19/2021)
    01/19/2021   2       ORDER APPOINTING FEDERAL PUBLIC DEFENDER. Federal Public
                         Defender − Houston for Shawn Carl Gaitan ( Signed by Magistrate Judge
                         Frances H Stacy) Parties notified. (bwhite, 4) (Entered: 01/19/2021)
    01/19/2021       13 Minute Entry by video for proceedings held before Magistrate Judge Frances H
                        Stacy: INITIAL APPEARANCE IN RULE 5(c)(3) PROCEEDINGS as to Shawn
                        Carl Gaitan held on 1/19/2021. Defendant requests appointed counsel. Financial
                        Affidavit executed. Order appointing Federal Public Defender. Defendant
                        ordered removed to originating district. Appearances:H Winter f/ausa; T Keck
                        f/ausa.(Court Reporter: ERO)(Digital # 2:17−2:25/2:53−2:56)(ERO:M Morgan)
                        Deft remanded to custody, filed.(bwhite, 4) (Entered: 01/19/2021)
    01/19/2021   3   15 COMMITMENT TO ANOTHER DISTRICT as to Shawn Carl Gaitan.
                        Defendant committed to the E/D/TX. ( Signed by Magistrate Judge Frances H
                        Stacy) Parties notified. (bwhite, 4) (Entered: 01/19/2021)




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   MIME−Version:1.0
   From:DCECF_LiveDB@txs.uscourts.gov
   To:DC_Notices@localhost.localdomain
   Bcc:
   −−Case Participants:
   −−Non Case Participants:
   −−No Notice Sent:

   Message−Id:34806881@txs.uscourts.gov
   Subject:Activity in Case 21−105 Sealed v. Sealed (Redacted Notice)
   Content−Type: text/html

                                             U.S. District Court

                                    SOUTHERN DISTRICT OF TEXAS

   Notice of Electronic Filing


   The following transaction was entered on 1/19/2021 at 12:26 PM CST and filed on 1/19/2021

   Case Name:       USA v. SEALED
   Case Number:     4:21−mj−00105 *SEALED*
   Filer:
   Document Number: No document attached
   Docket Text:
   Magistrate Judge Frances H Stacy added. (sanderson, 4)


   4:21−mj−00105 *SEALED*−1 No electronic public notice will be sent because the case/entry is sealed.




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            Sealed
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   prohibited by court order




                                                4:20-MJ-0105
                                                                            United States Courts
                                                                          Southern District of Texas
                                                                                   FILED
                                                                             January 19, 2021
                                                                        Nathan Ochsner, Clerk of Court




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            Sealed
Public and unofficial staff access
     to this instrument are
   prohibited by court order




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   MIME−Version:1.0
   From:DCECF_LiveDB@txs.uscourts.gov
   To:DC_Notices@localhost.localdomain
   Bcc:
   −−Case Participants:
   −−Non Case Participants:
   −−No Notice Sent:

   Message−Id:34806983@txs.uscourts.gov
   Subject:Activity in Case 21−105 Sealed v. Sealed (Redacted Notice)
   Content−Type: text/html

                                             U.S. District Court

                                    SOUTHERN DISTRICT OF TEXAS

   Notice of Electronic Filing


   The following transaction was entered on 1/19/2021 at 12:37 PM CST and filed on 1/19/2021

   Case Name:       USA v. SEALED
   Case Number:     4:21−mj−00105 *SEALED*
   Filer:
   Document Number: No document attached
   Docket Text:
    ***Set Hearing as to Shawn Carl Gaitan: Initial Appearance − Rule 40 set for 1/19/2021 at
   02:00 PM before Magistrate Judge Frances H Stacy (sanderson, 4)


   4:21−mj−00105 *SEALED*−1 No electronic public notice will be sent because the case/entry is sealed.




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   MIME−Version:1.0
   From:DCECF_LiveDB@txs.uscourts.gov
   To:DC_Notices@localhost.localdomain
   Bcc:
   −−Case Participants:
   −−Non Case Participants:
   −−No Notice Sent:

   Message−Id:34808965@txs.uscourts.gov
   Subject:Activity in Case 21−105 Sealed v. Sealed (Redacted Notice)
   Content−Type: text/html

                                              U.S. District Court

                                    SOUTHERN DISTRICT OF TEXAS

   Notice of Electronic Filing


   The following transaction was entered on 1/19/2021 at 3:00 PM CST and filed on 1/19/2021

   Case Name:       USA v. SEALED
   Case Number:     4:21−mj−00105 *SEALED*
   Filer:
   Document Number: No document attached
   Docket Text:
    Minute Entry by video for proceedings held before Magistrate Judge Frances H Stacy:
   INITIAL APPEARANCE IN RULE 5(c)(3) PROCEEDINGS as to Shawn Carl Gaitan held on
   1/19/2021. Defendant requests appointed counsel. Financial Affidavit executed. Order
   appointing Federal Public Defender. Defendant ordered removed to originating district.
   Appearances:H Winter f/ausa; T Keck f/ausa.(Court Reporter: ERO)(Digital #
   2:17−2:25/2:53−2:56)(ERO:M Morgan) Deft remanded to custody, filed.(bwhite, 4)


   4:21−mj−00105 *SEALED*−1 No electronic public notice will be sent because the case/entry is sealed.




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   MIME−Version:1.0
   From:DCECF_LiveDB@txs.uscourts.gov
   To:DC_Notices@localhost.localdomain
   Bcc:
   −−Case Participants:
   −−Non Case Participants:
   −−No Notice Sent:

   Message−Id:34806970@txs.uscourts.gov
   Subject:Activity in Case 21−105 Sealed v. Sealed (Redacted Notice)
   Content−Type: text/html

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                                    SOUTHERN DISTRICT OF TEXAS

   Notice of Electronic Filing


   The following transaction was entered on 1/19/2021 at 12:36 PM CST and filed on 1/19/2021

   Case Name:       USA v. SEALED
   Case Number:     4:21−mj−00105 *SEALED*
   Filer:
   Document Number: No document attached
   Docket Text:
   Arrest (Rule 40) of Shawn Carl Gaitan, filed. (sanderson, 4)


   4:21−mj−00105 *SEALED*−1 No electronic public notice will be sent because the case/entry is sealed.




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                                                                                 United States District Court
AO 94 (Rev. 06/09) Commitment to Another District                                  Southern District of Texas

                                                                                      ENTERED
                                   UNITED STATES DISTRICT COURT                     January 19, 2021
                                                    FOR THE                        Nathan Ochsner, Clerk
                                            SOUTHERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                                §
                                                        §
versus                                                  §   Case No. 4:21−mj−00105 *SEALED*
                                                        §
Shawn Carl Gaitan                                       §


                                    COMMITMENT TO ANOTHER DISTRICT


      The defendant has been ordered to appear in the E/D/TX, in 6cr97 (charging District's
case number).

         The defendant is requesting court appointed counsel.

         The defendant remains in custody after the initial appearance.

       IT IS ORDERED: The United States marshal must transport the defendant, together
with a copy of this order, to the charging district and deliver the defendant to the United States
marshal for that district, or to another officer authorized to receive the defendant. The marshal
or officer in the charging district should immediately notify the United States attorney and the
clerk of court for that district of the defendant's arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail
to the charging district.


Date: January 19, 2021




       Government moved for detention and Defendant detained pending a hearing in District
of offense.




                                                                                                            15
